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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )                 8:08CR473
QUIRT ALAN GLAZE,                              )
TODD CHARLES MATTHEWS and                      )                   ORDER
GREG WILLIAM FANTER,                           )
                                               )
                    Defendants.                )

        This matter is before the court on the motion of defendant, GREG WILLIAM
FANTER, for extension of time in which to file pretrial motions (Doc. 32). Upon review of
the file, and for cause shown, the court finds that the motion should be granted.

      IT IS ORDERED that the motion (Doc. 32) is granted, as follows:

      1. The deadline for filing pretrial motions is extended to March 2, 2009 as to all
defendants. The March 2, 2009 trial date is vacated. A trial date will be scheduled after
March 2, 2009, or after the court's final ruling on any substantive pretrial motions.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between January 29, 2009 and March 2, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

         3. GREG WILLIAM FANTER shall file an affidavit or declaration regarding speedy
trial, as required by NECrimR 12.1 and/or 12.3, and the case progression order (Doc. 19
at ¶ 9) no later than February 6, 2009

      DATED January 30, 2009.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
